Case 2:04-Cv-02389-.]PI\/|-tmp Document 16 Filed 05/12/05 Page 1 of 3 Page|D 34

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

ARTURO AGUIRRE CRUZ, et al.,
Plaintiffs,
vs. Civ. No. 04-2389-M1 P

FORD MOTOR COMPANY,

Defendant.

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ORDER GRANTING PLAINTIFFS' MOTION TO COMPEL

 

Before the Court is plaintiff's Motion to Compel Ford Motor
Company, filed April 21, 2005 (Dkt #13). Local Rule 7.2(a)(2)
requires that

the response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
he deemed good grounds for granting the
motion.
The time for filing a response to plaintiffs' motion to compel

has passed. Therefore, the motion is GRANTED.

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Case 2:04-Cv-02389-.]PI\/|-tmp Document 16 Filed 05/12/05 Page 2 of 3 Page|D 35

Defendant shall produce the discovery materials requested in
plaintiffs' motion to compel within eleven (ll) days from the date
of this order.

IT IS SO ORDERED.

 

r__'______'/
TU IVI. PHAM
United States Magistrate Judge
t/l;z/ OF’

 

Date ' '

 

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Honorable J on McCalla
US DISTRICT COURT

